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    8                              UNITED STATES DISTRICT COURT
    9              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   10

   11 FRANCESCA GREGORINI,                          Case No. 2:20-cv-00406-SSS-JC
                                                  I.Hon. Sunshine S. Sykes
   12                 Plaintiff,
                                                    Referred to: Hon. Jacqueline Chooljian,
   13         v.                                    United States Magistrate Judge
   14 APPLE INC., a California corporation;             DISCOVERY MATTER
        M. NIGHT SHYAMALAN, an
   15   individual, BLINDING EDGE
        PICTURES, INC., a Pennsylvania              SUPPLEMENTAL DECLARATION
   16   corporation; UNCLE GEORGE                   OF ANTOINETTE WALLER IN
        PRODUCTIONS; a Pennsylvania                 SUPPORT OF PLAINTIFF’S
   17   corporation; ESCAPE ARTISTS LLC,
        a California limited liability company;     MOTION TO COMPEL
   18   DOLPHIN BLACK PRODUCTIONS,                  DEFENDANT’S PRODUCTION OF
        a California corporation; TONY              DOCUMENTS
   19   BASGALLOP, an individual; ASHWIN
        RAJAN, an individual; JASON
   20   BLUMENTHAL, an individual; TODD
        BLACK, an individual; STEVE TISCH,          Date: May 30, 2023
   21   an individual; and DOES 1-10,               Time: 9:30 a.m.
        inclusive                                   Courtroom.: 750
   22
                      Defendants.
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                                                  1                             DECLARATION
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    1        I, Antoinette Waller declare:
    2        1.     I am counsel for Plaintiff Francesca Gregorini in the above-captioned
    3   matter. I have first-hand, personal knowledge of the facts set forth in this
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        Declaration, and if called to testify, could and would testify as follows.
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             2.     Plaintiff’s counsel made repeated requests during the year since this
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        case was remanded to this Court in May 2022, to have defendants produce their
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        initial disclosure documents as they had agreed to do in response to Plaintiff’s
    8
        Initial Disclosure Document Requests (RFP 106-111 to defendant Uncle George).
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   10
        While there are larger discovery issues and disputes between the parties, the six

   11   Initial Disclosure Document Requests which are the subject of this motion to

   12   compel are not subject to further meet and confer discussions. Plaintiff’s attempts
   13   to obtain defendants’ compliance with the Initial Disclosure Document Requests
   14   included telephonic and written communications. Defendants have never offered a
   15   reason why they could not produce their own initial disclosure documents as they
   16   had agreed to do in response to the Initial Disclosure Document Requests.
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             3.     When Uncle George continued to fail to comply with its written
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        discovery responses agreeing to produce its initial disclosure documents, Plaintiff’s
   19
        counsel sent a letter in February 2023 making one last demand for compliance.
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        Plaintiff noted that it would seek relief from this court if there was no compliance.
   21
        When Uncle George continued to fail to produce its promised initial disclosure
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   23
        documents, I served Plaintiff’s portion of the joint stipulation for this motion to

   24   compel on defendants’ counsel on April 27, 2023.

   25        4.     The only discovery Plaintiff has served to date are tailored document
   26   requests on each of the eleven defendants in this action. Defendants’ discovery to
   27   Plaintiff is much more invasive. After the Court denied defendants’ motion seeking
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                                                   2                                 DECLARATION
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    1   to bifurcate the case and disallow discovery, each of the eleven defendants
    2   individually served Plaintiff with a set of interrogatories and defendant Uncle
    3   George additionally served over one hundred document demands on Plaintiff.
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        Plaintiff timely served her responses to defendants’ discovery on March 13, 2023.
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        Defendants’ counsel had no quarrel with Plaintiff’s responses until after Plaintiff
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        served her portion of the Joint Stipulation on April 27. Four days later, on May 1,
    7
        defendants’ counsel, Nick Jampol, sent a 16-page letter complaining about
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        Plaintiff’s responses. Prior to that date, Mr. Jampol had not noted any concerns
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        about Plaintiff’s responses or alleged the responses were in any way deficient.

   11   Plaintiff is in the process of meeting and conferring as to the newly raised disputes.

   12        5.     Before filing the parties’ joint stipulation on May 4, 2023, I offered that
   13   if Uncle George would agree to produce its promised initial disclosure documents
   14   that week and label the documents to correspond to the requests, I would not move
   15   forward with the motion. Defendants declined the offer. After the joint stipulation
   16   was filed, defendants produced some documents. Defendants did not identify what
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        document requests the documents were responsive to. On May 11, 2023, I sent an
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        email to defendants’ counsel asking whether Uncle George had produced
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        documents in response to the Initial Disclosure Document Requests. Mr. Jampol
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        responded on May 15, 2023, stating that Uncle George had produced some
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        documents and that further documents would be produced in the future. Mr. Jampol
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   23
        declined to identify which documents were produced in response to the Initial

   24   Disclosure Document Requests. Attached as Exhibit A hereto is a true and correct

   25   copy of the May 11 – May 15, 2023 correspondence between Mr. Jampol and me.
   26        I declare under penalty of perjury pursuant to the laws of the State of
   27 California and the United States of America that the foregoing facts are true and

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                                                   3                              DECLARATION
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    1 correct.

    2        I am executing this Declaration on May 15, 2023 in Los Angeles, California.
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    5                                           /s/Antoinette Waller ____
                                                ANTOINETTE WALLER
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                                                4                            DECLARATION
